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FIREARMS AND AMMUNITION

§133-4 Exceptions, This chapter shall not apply ta the armed
forces of the United States, the national guard, or employees of the
United States or of the State or its political subdivisions who are au-
thorized by the United States or the State or its political subdivisions
to handle explosives. [L 1941, c 326, pt of §1; RL 1945, §4954; RL
1955, §184-36]

§133-5 Appeals. An appeal may be taken from any action of the
fire marsha] or of any officer authorized to act hereunder to the circuit
court of the first judicial circujt, [L 1941, c 326, pt of §1; RL 1945,
§4955; am L 1953, c 138, §1 (3); RL 1955, §184-37)

Cross References
Appeal procedure, see chapter 91.
Rules of Court

Appeal, see HRCP rule 72.

§133-6 Violations; penalty. Any person who violates any provision
of this chapter shall be fined not more than $500, or imprisoned not
more than six months, or both. (L 1941, c 326, pt of §1; RL 1945,
§4956; RL 1955, §184-38)

CHAPTER 134
FIREARMS AND AMMUNITION

Pant |. GENERAL REGULATIONS
SECTION

134-1 DEFINITIONS
134-2 REGISTRATION, MANDATORY
334-3 PERMITS TO ACQUIRE; REGISTRATION; PENALTY
134-4 TRANSFER OF RIFLES AND SHOTGUNS
$34-5 POSsessiQN BY LICENSED HUNTERS AND MINORS
134-6 PLACE TO KEEP FIREARMS; LOADED FIREARMS, WHEN PROHISITED
134-7 OWNERSHIP OR POSSESSION BY FUGITIVE FROM JUSTICE OR BY PERSON CON-
VICTED OF CERTAIN CRIMES PROHIBITED; PENALTY
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PROHIBITED; PENALTY
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134-33 PUNISHMENT FOR VIOLATIONS OF SECTION 134-32
134-34° NATIONAL EMERGENCY, WHEN

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Sec. 134-1 PUBLIC SAFETY AND INTERNAL SECURITY
PART !. GENERAL REGULATIONS

§134-1 Definitions. As used in this chapter:

“Firearm” means any weapon, the operating force of which js an
explosive. This definition includes pistols, revolvers, rifles, shotguns,
machine guns, automatic rifles, noxious Bas projectors, mortars, bombs,
cannon, and submachine guns. The specific mention of certain weapons
does not exclude from the definition other weapons operated by explo-
sives.

“Crime of violence” means any of the following crimes, namely:
murder, manslaughter, rape, kidnapping, tobbery, burglary, and those
certain crimes set forth in sections 724-4, 724-5 and 724-6.

“Pistol” or “revolver” means any firearms of any shape what-
soever with barrel less than twelve inches in length and capable of dis-
charging loaded ammunition or any noxious gas. [L Sp 1933, c 26, §2:
RL 1935, §2540; RL 1945, §718]; am L 1955, ¢ 54, §1; RL 1955,
§157-1}

Revision note

Reference to HRS 724-6 added to reflect amendment to HRS 724-5 by L 1967, c
243,

134-2 Registration, mandatory. Every person arriving in the State a
who brings with him firearms of any description, whether usable or
unusable, serviceable or unserviceable, modern or antique, or ammuni- \
tion of any type and description, shall within forty-eight hours after ar- j
rival, register the same with the chief of police of the county of his
place of business, or if there be no place of business, his residence, or
if there be neither place of business nor residence, his place of sojourn.

The registration shall be on such forms as may be designated by
the department of the attorney general and shall include a description
of the class of firearms and ammunition owned by him, or in his pos-
session, together with the name of the maker and the factory number,
if known or ascertainable, and the source from which possession was
obtained.

Within ten days after the end of each month the respective chiefs
of police shall furnish to the department duplicate copies of all registra-
ions made during the preceding month.

No fee shall be charged for the registration.

Any person who fails to comply with this section shall be fined
not more than $250. {L Sp 1933, c 26, §3; RL 1935, $254]; am L
1939, c 104, § 7; am L Sp 1941, ¢ 78, $1; am L 1943, c 62, §21 and
c 64, § 22; RL 1945, §7182: RL 1955, §157-2; am L Sp 1959 2d, ¢ 1,
§13]

§134-3 Permits to acquire; registration; penalty. No person shall '
acquire the ownership of a firearm of any description (other than a rifle
or shotgun having a barrel length of eighteen inches or over), whether
usable or unusable, serviceable or unserviceable, modern or antique,

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FIREARMS AND AMMUNITION Sec. 134-3

registered under prior law or by a prior owner or unregistered, either
by purchase, gift, inheritance, bequest, or in any other manner, whether
procured in the State or imported by mail, express, freight or other-
wise, until he has first procured from the chief of police of the county
of his place of business, or if there be no place of business, his resi-
dence, or if there be neither place of business nor residence, his place
of sojourn, a permit to acquire as prescribed herein; provided, when ti-
tle to any such firearm is acquired by inheritance or bequest, the fore-
going permit shall be obtained before taking possession of same. Fur-
ther, no person shall keep in his possession any such firearm which is
owned by another, irrespective of whether or not the owner has con-
sented to its possession, without a permit from the chief of police of
the aforesaid county; provided, that any pistol or revolver, which is
registered under, and in respect of which the owner has fully complied
with, this chapter, may be loaned to another even though he be a mi-
nor, upon a target range, for a period not longer than to allow the
other person to then and there use it for target shooting, without a
permit. .

Each chief of police may issue permits, within his jurisdiction, to
acquire such firearms, to citizens of the United States, of the age of
twenty years or more, and to duly accredited official representatives of
foreign nations. Each chief of police may also issue permits to aliens of
the age of twenty years or more for use of rifles and shotguns for a
period not exceeding sixty days, after the alien had first procured a
hunting license under sections 191-1 to 191-6.

Applications for the permits shall be signed by the applicant upon
forms to be specified by the department of the attorney general and
shall be signed by the issuing authority. One copy of the permit shall i
be retained by the issuing authority, as a permanent official record. The
permit shall be void unless used within ten days after the date of issue.
In all cases where possession is acquired from another person in the
State the permit shall be signed in ink by the holder thereof and shall
be delivered to and taken up by the person who is transferring title to
the firearm, who shall make entry thereon setting forth in the space
provided, the name of the person to whom the firearm was transferred,
and the make, style, caliber, and number as applicable. He shall then
sign it in ink and cause it to be delivered or sent by registered mail to
the issuing authority within forty-eight hours. In case receipt of the
firearm is had by mail, express, freight or otherwise, from sources with-
out the State, the person to whom the permit has been issued shall '
make the prescribed entries thereon, sign it in ink, and cause it to be
delivered, or sent by registered mail to the issuing authority within
forty-eight hours after taking possession of the firearm. No person shall
sell, give, loan, or deliver into the possession of another any firearm or
ammunition except in accordance with this section.

Any person acquiring a firearm under this section shall, within five
days of acquisition, register it in the manner prescribed by section
134-2.

No fee shall be charged for permits under this section.

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Sec. 134-3 PUBLIC SAFETY AND INTERNAL SECURITY

Any person who violates this section shall be fined not more than
$500 or imprisoned not more than one year, or both, {[L Sp 1933, ¢
26, 84; RL 1935, §2542; am L 1939, c 104, § 7; amb Sp 194], c 78,
§2; am L 1943, ¢ 62, §21 and c 64, §22; RL 1945, §7183; am L
1949, c 192, $1; am L Sp 1949, ¢ 24, § I: am L 1951, c 304, $1; am
L 1953, c 262, $1; RL 1955, § 157-3; am L Sp 1959 2d, c 1, §13; am
L 1961, ¢ 14, §2}

$134-4 Transfer of rifles and shotguns. No transfer of any rifle or
shotgun having a barrel length of eighteen inches or over, whether us-
able or unusable, serviceable or unserviceable, modern or antique, reg-
istered under prior law or by a prior owner or unregistered, shall be

it shall be unlawful for any person to own or possess such rifle,
unless he is a citizen of the United States, or an alien who has pro-
cured a hunting ficense under sections 191-1 to 191-6 and a firearms

Any person who violates this section shall be fined not more than
$500 or imprisoned not more than one year, or both. {L 1951, c¢ 304,
$2; am L 1955, c 68, §1: RL 1955, §157-4; am L 1961, ¢ 14, §3)

teen years while accompanied by an adult, who has procured a hunting
license under sections 19J-1 to 191-6, may, while actually engaged in

[L Sp 1933, c 26, 85: RL 1935, §2543; RL 1945, $7184; am L 1951,
€ 304, §3; RL 1955, §157-5)

Cross References

Issuance of hunting licenses, sec §191-2.

Or a target range.

It shall be unlawful for any person to have in his Possession or to
Carry on any public highway any firearm loaded with ammunition;
provided that the provisions of this paragraph shall not apply to any
Person who -has in his possession OF carries a pistol or revolver and

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FIREARMS AND AMMUNITION Sec. 134-9

ammunition therefor in accordance with a license or permit issued, as
provided in section 134-9. (L Sp 1933, c 26, pt of §6; RL 1935,
§2544; RL 1945, § 7185; RL 1955, §157-6; am L 1957, c 300, 81]

§134-7 Ownership or possession by fugitive from justice or by per-
son convicted of certain crimes prohibited; penalty. (a) No person who is
a fugitive from justice shall own or have in his Possession or under his
control any firearm or ammunition therefor. As used in this section the
term “fugitive from justice” means any person who has fled from any
State, territory, the District of Columbia, or possession of the United
States to avoid prosecution for a crime of violence or to avoid giving
testimony in any criminal proceeding.

(b) No person who has been convicted in this State or elsewhere,
of having committed or attempted a crime of violence, or of the illegal
use, possession, or sale of narcotics, shall own, or have in his posses-
sion, or under his contro] any firearm or ammunition therefor.

(c) Any person violating this section or section 134-6 shall be
fined not more than $1,000 or imprisoned not more than one year, or
both. [L Sp 1933, c 26, pt of §6; RL 1935, §2545; RL 1945, § 7186;
am L 1951, ¢ 253, §1; RL 1955, §157-7; am L 1961, ¢ 15, §1}

§134-8 Ownership, etc., of machine guns, automatic rifles, silencers,
etc., prohibited; penalty. The manufacture, possession, sale, barter,
trade, gift, transfer, or acquisition of any machine guns, submachine
puns, automatic rifles, cannon, mufflers, silencers, or devices for dead-
ening or muffling the sound of discharged firearms, or any bomb or
bombshell is prohibited. Any person violating this section shall be fined
not more than $1,000 or imprisoned not more than one year, or both.
(L Sp 1933, c 26, §7; RL 1935, §2546; RL 1945, §7187; RL 1955,
§157-8)} .

§134-9 Permits to carry; penalty. In an exceptional case, when the
applicant shows reason to fear injury to his person or property, the
respective chiefs of police may grant a license to a citizen of the
United States or a duly accredited official representative of a foreign
nation, of the age of twenty years or more, to carry concealed on his
person within the county where the license is granted, a pistol or re-
volver and ammunition therefor; or where the urgency of the need has
been sufficiently indicated to the respective chiefs of police, they may
Brant to an applicant of good moral character who is a citizen of the
United States of the age of twenty years or more, who is engaged in
the protection of Jife and property and not prohibited under section
134-7 from the ownership or possession of a firearm, a license to carry
unconcealed on his person within the county where the license is grant-
ed, a pistol or revolver. Unless renewed, the license shall automatically
become void at the expiration of one year from date of issue. No li-
cense shall be issued unless it ‘appears that the applicant is a suitable
person to be so licensed, and in no event to a person who is prohi- '
bited under section 134-7 from the ownership or possession of a fire-

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Sec, 134-9 PUBLIC SAFETY AND INTERNAL SECURITY

arm, Or a person adjudged insane or appearing to be mentally deranged.
No person shall carry concealed or unconcealed on his person a pistol
or revolver without being licensed so to do under this section or in
compliance with section 134-6.

For each license there shall be charged a fee of $10, which shall
be deposited in the treasury of the county in which the license is
granted.

Any person violating this section shall be fined not more than
$1,000 or imprisoned not more than one year, or both {L Sp 1933, ¢
26, 88; RL 1935, §2547; RL 1945, §7188; RL 1955, §157-9; am L
1961, c 163, §1) :

8134-10 Alteration of identification marks prohibited; penalty. No
"person shall wilfully alter, remove, or obliterate the name of the make,
model, manufacturer's number, or other mark of identity of any firearm
or ammunition. Possession of a firearm or ammunition upon which any
mark of identity has been altered, removed, or obliterated shall be
presumptive evidence that the possessor has altered, removed, or obli-
terated the same. Any person who violates this section shall be fined
not more than $500 or imprisoned not more than one year, or both, (L
Sp 1933, c 26, §9; RL 1935, §2548: RL 1945, 87189; RL 1955,
§157-10)

“8134-11 Exemptions. Sections 134-6 to 134-9 shall not apply:

(1) To members of police departments, sheriffs, members_of mili-
tary and naval forces of the State and of the United States,
mail carriers, and law enforcement officers;

(2) To regularly enrolled members of any organization duly author-
ized to purchase or receive the weapons from the United
States or from the Stale, provided the members are at, or
going to or from their places of assembly, or target practice;

(3) To persons employed by the State or subdivisions thereof or
the United States whose duties require them to be armed,
while the persons are in the performance of their respective
duties, or while going to and from their respective places of
duty;

(4) To police officers on official assignment in Hawaii from any
state which by compact permits police officers from Hawaii
while on official assignment in that state to carry firearms
without registration. The governor of the State or his duly
authorized representative may enter into compacts with other
States to carry out this section.

Nor shall sections 134-2 and 134-3 apply to such firearms or
ammunition as are a part of the official equipment of any federal
agency. [L Sp 1933, c 26, §11; RL £935, §2549; am L 1939, c 10, §
1; RL 1945, 87190; RL 1955, §157-11; am L 1961, c 65, 88 1, 2; am
L 1963, c 85, §3]

$134-12 Firearms forfeited when. All firearms or ammunition car-
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FIREARMS AND AMMUNITION Sec. 134-32

ried or possessed contrary to Jaw shall be forfeited to the State and
shall be destroyed or retained by the chief of police of any county, for
use by and under the control of the police department in whose juris-
diction they are forfeited (L Sp 1933, c 26, §12; RL 1935, §2550; am
L 1939, ¢ 104, § 7; am L Sp 1941, c 36, §1; am L 1943, c 62, §21
and c 64, § 22; RL 1945, §7191; RL 1955, §157-12)

§134-13 Revocation of permits. All permits and licenses provided
for under this part may be revoked, for good cause, by the issuing au-
thority or by the judge of any court [L Sp 1933, ¢ 26, §13; RL 1935,
§2551; RL 1945, §7192; RL 1955, §157-13)

$134-14 Report. Within ten days after the last day of each month
each of the authorities herein authorized to issue or revoke permits and
licenses shall make a report to the department of the attorney general
as of the last day of the preceding month of all permits and licenses
issued or revpked by him. The report shall be in such manner and in |
such form as the department may prescribe, (L Sp {933, c 26, §14;
RL 1935, $2552; am L Sp 1941, c 78, §3; RL 1945, §7193; RL 1955,
§157-14; am L Sp 1959 2d, ¢ 1, §13]

§134-15 Penalty for falsification. 1f any person, in complying with
any of the requirements of this part, gives false information, or offers
false evidence of his identity, he shall be fined not more than $1,000
or imprisoned not more than one year, or both. (L Sp 1933, c 26, §15;
RL 1935, §2553; RL 1945, §7194; RL 1955, §157-15}

PART Il. FIREARMS, DEALERS’ LICENSES

§134-31 License to sell and manufacture firearms; fee. The annual
fee for a license to sell and manufacture firearms for sale in the State
either at wholesale or retail, shall be $10. {L 1921, c 13, pt of 81; RL
1925, §2033; RL 1935, §2554; RL 1945, §7195: am L 1953, ¢ 155, $1
(a); RL 1955, §157-30}

§134-32 License to sell and manufacture firearms; conditions. Every
Nicense issued pursuant to this part shall be. issued and shall be re-
garded as having been accepted by the licensee subject to the following
conditions:

(1) That the licensee shall at all times comply with all provisions

of law relative to the sale of firearms.

(2) That the license may during any time of national emergency or

crisis, as defined in section 134-34, be canceled or suspended.

(3) That all firearms in the possession and control of any licensee

may al any time of national emergency or crisis, as defined in
section 134-34,:be seized and held in possession or purchased
by or on the order of the governor until such time as the na-
tional emergency or crisis has passed, or until such time as
the licensee and the government of the United States or the

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Sec. 134-32 PUBLIC SAFETY AND INTERNAL SECURITY

government of the State may agree upon some other disposi-
tion of the same. [L 1921, c 13, pt of $1; RL 1925, §2034;
RL 1935, $2555; RL 1945, §7196: am L 1953, ¢ 155, §1 (b);
RL 1955, §157-3)}

$134-33. Punishment for violations of section 134-32. Any person
who manufactures or sells any firearms within the State without having
a valid license so to do, or who being a holder of a license violates
any of the terms or conditions of the same, shall be fined not Jess than
$100 nor more than $1,000 or imprisoned not less than three months
nor more than one year. (L 1921, ¢ 13, pt of §1; RL 1925, $2036; RL
1935, § 2557; RL 1945, §7198: am L 1953, c 155, §% (c): am L 1955,
c 54, §2; RL 1955, §157-33) -

§134-34 National emergency, when. A national emergency or crisis
shall be deemed to have arisen when the governor, the commanding
general of the United States Army, Pacific, and the commandant of the
14th Naval District and Hawaiian Sea Frontier have, in the exercise of
their discretion, so determined, {L 1921, c 13, pt of §1; RL 1925,
§2035; RL 1935, §2556; RL 1945, §7197; RL 1955, §157-32]

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